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Attorney or Party Name, Address, Telephone & FAX FOR COURT USE ONLY
Nos., State Bar No. & Email Address

David M. Goodrich, Chapter 7 Trustee
goodrichtrustee@sulmeyerlaw.com

333 S. Hope Street, 35th Floor

Los Angeles, CA 90071

Tele: (213) 617-5273
Fax: (213) 629-4520

(_] Debtor(s) appearing without an attorney
(_] Attorney for Debtor(s)

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re: CASE NO.: 2:15-bk-11688-ER
Shasa USA, LLC CHAPTER: 7

NOTICE OF MOTION AND MOTION UNDER
LBR 2016-2 FOR APPROVAL OF CASH
DISBURSEMENTS BY THE TRUSTEE;

OPPORTUNITY TO REQUEST HEARING; AND
DECLARATION OF TRUSTEE

[No hearing unless requested under LBR 9013-1(o)]
Debtor(s).

TO PARTIES IN INTEREST:

PLEASE TAKE NOTICE that the duly-appointed chapter 7 trustee has filed the following motion for court approval of the
trustee's request to make cash disbursements. The court may grant the motion authorizing expenditure of estate funds
without a hearing unless you file with the court and serve upon the trustee and the United States trustee a written
objection to the motion explaining all of the reasons for the opposition WITHIN 14 DAYS AFTER THE DATE OF
SERVICE OF THIS NOTICE OF MOTION AND MOTION, plus 3 additional days if you were served by mail or pursuant to
F.R.Civ.P. 5(b)(2)(D) or (F). If an objection is timely filed, the trustee will set the matter for hearing and notify you of the
date and time of the hearing. Failure to object may be deemed consent to interim authorization of the expenses
requested by the trustee.

The trustee moves for an order authorizing cash disbursements from property of the estate as follows:

1. Abrief summary of the case is attached as Exhibit A.
2. The estimated date for submitting a final report is 03/31/2018 _.

This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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3. Cash disbursements period: 05/01/2017 to 06/30/2017
A detailed analysis and justification of the trustee’s expenses is included in Exhibit B.

5. Final approval of all expenditures will be sought when the trustee files a Final Account and Report (including
those paid in accordance with LBR 2016-2).

-

Date: 05/02/2017 /s/ David M. Goodrich

Signature of the chapter 7 trustee or the trustee's attorney

David M. Goodrich
Printed name of the chapter 7 trustee or the trustee’s attorney

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DECLARATION OF TRUSTEE

|, David M. Goodrich , the duly appointed chapter 7 trustee, have prepared the foregoing
motion to make cash disbursements and believe the amounts specified in each category are reasonable and necessary
for an effective and efficient administration of the estate. If this motion proves to be inaccurate or infeasible, | will submit
corrected motions as necessary.

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

05/05/2017 David M. Goodrich ‘si David M. Goodrich
Date Printed Name Signature

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EXHIBIT “A"

SUMMARY/STATUS OF CASE:

This cash disbursement motion is filed pursuant to LBR 2016-2 of the United States Bankruptcy Court, Central District of
California.

Through review of the Debtor's schedules, information obtained from creditors or information obtained at the Debtor's
341(a) meeting or otherwise, this case appears to have assets and/or potential avoidance actions that may be liquidated

for the benefit of creditors.

Insert specific facts of case:

On February 4, 2015, the Debtor filed a voluntary petition. Prior to filing its voluntary petition, the Debtor was involved in
sale of retail women's clothing. The trustee reviewed the books and records that were provided, however, they appeared
to be incomplete. The trustee contacted JPMorgan Chase, however a subpoena was required. The trustee subpoenaed
the records. The cost to obtain the records was $5,727.14. The trustee believes the amount is justified and by this
motion is seeking authorization to make payment to JPMorgan Chase.

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EXHIBIT “B”

Estimated Recurring Monthly Expenses During the Cash Disbursement Period:

$ Rent or Mortgage Payment

Property Tax

Insurance

Utilities

Repair and Maintenance

Property Management

Security Services

Advertising Sale of Assets

Actual Cost of Noticing, Copying and Postage

Storage of Estate Assets and/or Books and Records

Long Distance Telephone

Expedited Mail

Teletransmission

Delivery of Documents

Filing and Process Serving

Bank Charges for Research and/or Copies

Clerk’s Charges

Court Reporting Fees

Witness Fees

Transcript Fees

Notary Fees

Recording Fees

Trustee Travel and Lodging (includes lodging, meals, mileage and parking)

Other:

Ff Ff fF fF fF Ff fF HF F fF F Ff F GF F F Ff fF fF Ff fF F fF

Other:

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$ Other:
$ Other:
$ Other:
Total: $0.00 Estimated Recurring Monthly Expenditures During the Cash Disbursement Period

Total Estimated Other Expenses During the Cash Disbursement Period for Which Court Approval is Sought at
this Time:

$ Locksmith Services
$ Initial Moving and Storage Costs; Books and Records and/or Property of the Estate
$ Advertising Sale of Assets
$ Books and Records Destruction Costs
$ Postpetition taxes payable pursuant to 11 U.S.C. § 503 (b)(1)(B), but not
preconversion taxes
$ Prepetition taxes payable pursuant to 11 U.S.C. § 507(a)(2)
$ 5,727.14 Other: Research, copies of documents, etc.
$ Other:
$ Other:
Total: $5,727.14 Estimated Other Expenses During the Cash Disbursement Period

The foregoing expenditures are justified by the following facts:
The trustee required the documents to administer the case. Attached is the invoice from JPMorgan Chase.

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JPWiorganChase &

National Subpoena Processing
Mall Code IN1-4054

7610 West Washington Street
Indianapolis, Indians 46231

4/19/2017

Steven F. Werth, Esq,

SulmeyerKupetz, A Professional Corporation
333 South Hope Street, 35th Floor

Los Angeles, CA 90071

RE: In Re Shasa USA LLC
JPMorgan Chase File No.: $B796973-11
Original Invoice Dates 1/25/2017

This is our second request for payment of the invoice for the subpoena referenced above. Please send us the total amount due
when you receive this letter, Here is a breakdown of the costs:

1. Research: includes subpoens review, customer/account searching, locating/ordering
documents (if applicable), redaction (if applicable), quality review, case assembly and closure.

No. of Hours : 13.00 § 22 /hr $ 286.00
2, Directly Incurred Offsite Paper Retrieval: $0.00
3, Directly Incurred Offsite Fiim Retrieval: $0.00
4, Copies of subpoenaed documents:
No. of Pages: 21086 $ 0.25 /pg $ $271.50
§, Witness Appearance Fee : $ 0.00
6. Transporation Costs (Postage or Overnight) : $ 169.64
7. Other Amount : $ 0.00
. TOTAL: $ 5727.14
Less Amount Paid: $

TOTAL AMOUNT DUE: § 5727.14 /

Rates used are based on Federal, IRS or State specific fee schedules, For states without a published fee schedule, federal rates are
applied.

Federal Tax ID# : 14650

Please send your payment to_my attention at the address above and return a copy of this invoice with your payment, The check
should be made payable to JPMorgan Chase Bank, N.A. and include the Case ID on your payment to ensure it ts appliled
correctly. .

Please direct questions regarding this invoice to the Customer Service Support Team at 1-317-757-7422,

Sincerely,

The Cost Reimbursement Team

JPMorgan Chase Bank, N.A. Member FDIC
SUBP30
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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Hope Street, Thirty-Fifth Floor, Los Angeles, CA 90071-1406.

A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION UNDER LBR
2016-2 FOR APPROVAL OF CASH DISBURSEMENT BY THE TRUSTEE; OPPORTUNITY TO REQUEST HEARING:
AND DECLARATION OF TRUSTEE will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 3, 2017_| checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Daniel M Anderson daniel.anderson@icemiller.com, sandy.heaberlin@icemiller.com

e Jason Balitzer jbalitzer@sulmeyerlaw.com,
jbalitzer@ecf.inforuptcy.com;dwalker@ecf.inforuptcy.com;slee@sulmeyerlaw.com

« Michael Jay Berger michael.berger@bankruptcypower.com,
yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com

e Ronald K Brown ron@rkbrownlaw.com

e Jay J Chung jaychung@leeanavchung.com, bk jaychung@lacwkrr.com

e Jaenam J Coe coelaw@gmail.com

« Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com:Brian@lesliecohenlaw.com

¢ Jerome S Demaree stan@demaree-law.com

e John P Dillman houston_bankruptcy@publicans.com

¢ Carter L George , tolson@bakermarquart.com

e David M Goodrich (TR) GoodrichTrustee@sulmeyerlaw.com, c143@ecfcbis.com

¢ Keon H Han khan@lhplaw.com, echoi@Ihplaw.com

e Mark S Horoupian mhoroupian@sulmeyerlaw.com,
ppenn@sulmeyerlaw.com;mhoroupian@ecf.inforuptcy.com;dperez@sulmeyerlaw.com;ppenn@ecf.info
ruptcy.com

e Sarah Kyung Jun sarah@junlaw.net, sjunlaw@gmail.com

¢ Christian T Kim ckim@dumas-law.com, ckim@ecf.inforuptcy.com

e = William W Kim william@parkandlim.com

e Joshua T Klein jklein@foxrothschild.com, rsolomon@foxrothschild.com

e Stuart 1 Koenig Skoenig@leechtishman.com, fscardino@leechtishman.com

e K Tom Kohan tom@kohanlawfirm.com

e Robert S Lampl advocate45@aol.com, rlisarobinsonr@aol.com

° Scott Lee slee@lbbslaw.com

e Craig E Lindberg craig.lindberg@fedex.com, jlpolson@fedex.com,khmiller@fedex.com

e Thor D McLaughlin tmclaughlin@allenmatkins.com, igold@allenmatkins.com

e Giovanni Orantes go@gobklaw.com, gorantes@orantes-
law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com

e Dale J Park dalejparklaw@yahoo.com

¢ Kurt Ramlo kr@Inbyb.com, kr@ecf.inforuptcy.com

e Diane W Sanders austin.bankruptcy@publicans.com

« Rowena Santos rsantos@thompsoncoburn.com,
Istevens@thompsoncoburn.com,bgutierrez@thompsoncoburn.com

e Steven P Scandura sps401@gmail.com, serene.c84@gmail.com

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June 2012 F 9013-3.1.PROOF.SERVICE
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e Paul R Shankman pshankman@jhindslaw.com

« Owen M Sonik osonik@pbfcm.com, tpope@pbfcm.com

« Jason A Starks bk-jstarks@texasattorneygeneral.gov .

e Michael A Sweet msweet@foxrothschild.com, ccarlyle@foxrothschild.com

« Nico N Tabibi nico@tabibilaw.com .

« Ronald M Tucker rtucker@simon.com,
cmartin@simon.com;psummers@simon.com;Bankruptcy@simon.com

« United States Trustee (LA) ustpregion!6.la.ecf@usdoj.gov

e Elizabeth Weller dallas.bankruptcy@publicans.com

e Steven Werth swerth@sulmeyerlaw.com,
asokolowski@sulmeyerlaw.com;slee@sulmeyerlaw.com;slee@ecf.inforuptcy.com;asokolowski@ecl.int
oruptcy.com;swerth@ecf.inforuptcy.com

e Michael H Yi myi@yimadrosenlaw.com

DO Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:

On (date) May 3, 2017, | served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

SEE ATTACHED
J) Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , |served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

O Service information continued on attached page.

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

May 3, 2017 Lorraine L Robles /s/ Lorraine L. Robles
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 . F 9013-3.1.PROOF.SERVICE
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Employment Development Dept.
Bankruptcy Group MIC 92E
P.O. Box 826880

Sacramento, CA 94280-0001

Los Angeles City Clerk
P.O. Box 53200
Los Angeles, CA 90053-0200

Los Angeles Division
255 East Temple Street,
Los Angeles, CA 90012-3332

26 INTERNATIONAL
1500 S. GRIFFITH AVE
LOS ANGELES, CA 90021-2128

A & B FASHION, INC
710 E PICO BLVD, STE 107
LOS ANGELES, CA 90021-2182

A-CHECK AMERICA INC.
P.O.BOX 29048
GLENDALE, CA 91209-9048

ACQUARIUM, INC DBA CARMIN
794 E. 12TH STREET
LOS ANGELES, CA 90021-2102

ADT SECURITY SERVICE
PO BOX 672279
DALLAS TE, 75267-2279

AIRMAR TRANSPORTES INTERNACIONALES

NORTE 174 NO. 549 COL. PENSADOR MEX

C.P, 15510 DELEG. VENUSTIANO CARRAN, D.F MEXICO

ALTB
766 E. 12TH ST 4#C
LOS ANGELES, CA 90021-2190

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Franchise Tax Board
Bankruptcy Section MS: A-340
P.O. Box 2952

Sacramento, CA 95812-2952

Shasa USA LLC
2827 S. Santa Fe Avenue
Vernon, CA 90058-1408

12K APPAREL NY. LLC
1407 BROADWAY STE 1022
NEW YORK. NY 10018-3255

8th Street Enterprise Inc.
777 S. Central Avenue
Los Angeles. CA 90021-1507

A ELLEN
807 FE. 12ST. STE 118
LOS ANGELES. CA 90021-2174

ACCESSORIES WEST IMPORTS
15500 ERWIN STREET, 1109
VAN NUYS, CA 91411-1027

ADF Family Trust
2827 8 Santa Fe Avenue
Vernon. CA 90038-1408

AGAIN TRADING CORP
1239 BROADWAY

12 FL

NEW YORK, NY 11223

ALBERT URESTIE BEXAR COUNTY TAX ASSE

233 N. PECOS LA TRINIDAD
SAN ANTONIO. TX 78207-3175

AMEN TRADING, INC
3183 BANDINI BLVD
VERNON. CA 90058-4134

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AMICI ACCESSORIES LTD ANA ACCESSORIES CORPORATION

39 WEST 37ST 2ND FLOOR 940 CROCKER ST #101

NEW YORK, NY 10018-0213 LOS ANGELES, CA 90021-2289
ANDERSON/LA ANN KIM FASHION ACCESSORY DBA AF DE
3550 TYBURN STREET 2115 E. 27TH STREET

LOS ANGELES, CA 90065-1427 VERNON, CA 90058-1103

APPAREL AVE DBA LA BIJOU ARIHANT EXPORTS

1168 CROCKER ST. 901 SAPPHIRE PLAZA

LOS ANGELES, CA 90021-2014 DADABHAI CROSS RD

DADABHAI, 40056

ASIANA TRADING, INC AT&T

4320 S. SANTA FE AVE One AT&T Way

LOS ANGELES, CA 90058-1715 Bedminster, NJ 07921-2694
AT&T ATC CONSTRUCTION

PO BOX 5001 3532 BROADWAY

CAROL STREAM, IL 60197-5001 PEARLAND. TX 77381-4307
ATLAS FASHION JEWELRY CORP AXESORY SOURCE

1239 BROADWAY #501 11880 COMMUNITY RD
NEW YORK, NY 10001-4366 STE 340

POWAY, CA 92064-8876

AYMAN FASHIONWEAR LIMITED Any Enterprise, Inc.

HOUSE #8 (3RD FLOOR), ROAD #07 1250 South Broadway
UTTARA, DHAKA-!230, BANGLADESH los Angeles. CA 90015-2108
Apparel Candy Arizona Department of Revenue
3022 S. Grand Avenue 1600 West Monroe Street
Los Angeles, CA 90007-3813 Phoenix, AZ 85007-2650
Armando Ernesto Dollero Figueroa ’ Asia Pacific Trading Co., Inc.
2827 S. Sante Fe Avenue 5132 S. Alameda Sireet
Vernon, CA 90058-1408 Vernon. CA 90058-3418
At&T At&T

PO BOX 105414 PO BOX 5025

Atlanta, GA 30348-5414 Carol Stream, IL 60197-5025
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At&t U-verse .
PO BOX 5014
Carol Stream, IL 60197-5014

B. MY APPAREL, INC DBA SUGARMINT
807 E. 12TH ST., #150
LOS ANGELES, CA 90021-2176

BLAIR KEOUGH
19737 WELBY WAY
WINNETKA, CA 91306-4338

BLUE AMBROSIA
2323 E 52ND STREET
VERNON, CA 90058-3443

BOA STYLE, INC
1226 S. San Pedro Street
Los Angeles, CA 90015-2612

BONDED APPAREL, INC
800 MCGARRY STREET, 5TH FL
LOS ANGELES, CA 90021-1951

BOZZOLO, INC
1015 S. CROCKER ST. #Q-5
LOS ANGELES, CA 90021-2063

Baybrook Mall, LLC

110 N. Wacker Dr.

Attn: Law/Lease Adminstration Dept
Chicago, IL 60606-1511

Bruce Elfant/Tax Assessor-Collector
P.O. Box 149328
Austin, TX 78714-9328

C. LUCE, INC DBA TCEC
1016 TOWNE AVE STE #108
LOS ANGELES, CA 90021-2078

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B#-SHARP COLLECTION, INC
1162 S. CROCKER ST.
LOS ANGELES, CA 90021-2014

BBC APPAREL GROUP LLC
1407 BROADWAY

STE 506

NEW YORK. NY 10018-35100

BLUCEAN CORP DBA MANITO USA
807 E. 12TH ST. STE #101
LOS ANGELES, CA 90021-2174

BLUE PLANET INTERNATIONAL, INC DBA
1526 E. WASHINGTON BLVD.
LOS ANGELES. CA 90021-3122

BONAGI: USA LLC
770 EF t2TH ST SUTE 2
LOS ANGELES, CA 90021-2192

BOSS FACILITY SERVICES. INC,
] ROEBLING COURT
RONKONKOMA. NY 11779-9202

Baybrook Mall

500 Baybrook Mall

Attn.: General Manager
Friendswood, TX 77546-2796

BlueMoon/Digital Inc.
1512 Larimer Street
Suite 800

Denver, CO 80202-1610

Buyermex. S.A. de C.V.

Boulevard Acropuerto Miguel Aleman
11 Rancho Et Rosario

Lerma Mexico

Estado De Mexico C.P.. LA 52000

CACHET CREATIONS INC DBA CRISTALS
128 CHARLOTTE AVE
HICKSVILLE. NY 11801-2620

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CALI BUOU, INC
1237 S. Los Angeles St.
Los Angeles, CA 90015-2538

CAMEO MANUFACTURE & WHOLESALE
726 E. 12TH ST #110
LOS ANGELES, CA 90021-2139

CAPE ROBBIN, INC
1020 S. LAWSON ST
CITY OF INDUSTRY, CA 91748-1107

CBEYOND ON LINE
PO BOX 848432
DALLAS, TX 75284-8432

CELESTE
798 1/2 E. 12TH UNIT#2
LOS ANGELES, CA 90021-2148

CHIC BLACK, INC DBA DI LUSSO
807 E 12th ST. #229
LOS ANGELES, CA 90021-2179

CIRRO ENERGY DALLAS TEXAS
PO BOX 700608
DALLAS, TX 75370-0608

CITY OF TUCSON
255 W. ALAMEDA
TUCSON, AZ 85701-1362

CLEAR CREEK ISD TAX OFFICE
PO BOX 650395
DALLAS, TX 75265-0395

COLOR BOX, INC DBA DIVA
1100 S. SAN PEDRO STREET. C-10
LOS ANGELES, CA 90015-2385

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CALIFORNIA CHAMBER OF COMMERCE
P.O. BOX 537016
SACRAMENTO. CA 95853-7016

CANDY ROSE APPAREL
1015 S. CROCKER ST. SUIT ROS
LOS ANGELES, CA 90021-2065

CAVALINI. INC DBA CI SONO
1536S. ALAMEDA ST

"LOS ANGELES, CA 90021-2836

CDF Family Trust
2827 S Santa Fe Avenuc
Vernon, CA 90058-1408

CESEM
754-1 FE. 12TH ST
LOS ANGELES. CA 90021-2102

CILLA COLLECTION
1001 E. 7TH ST #C
LOS ANGELES. CA 90021-1501

CITY LIGHTING PRODUCTS DENVER
7104 SOUTH DILLION CT.
ENGLEWOOD. CO 80112-4441

CITY OF VERNON
4305 SANTA FE AVE.
VERNON, CA 90058-1714

CODIGO
1100S. SAN PEDRO ST. SUITE C8

LOS ANGELES, CA 90015-2385

CORRA TECHNOLOGY, INC
363 BLOOMFIELD AVE. SUITE 3C
MONTCLAIR. NJ 07042-3655

Desc
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COSTAR INTERNATIONAL ENT, INC
2200 E. 27TH ST
VERNON, CA 90058-1131

COUNTY OF MONTGOMERY JR MOORE JR
400 N. SAN JACINTO STREET
CONROE, TX 77301-2823

CT CORPORATION
2875 MICHELLE DRIVE, SUITE 100
IRVINE, CA 92606-1024

CYRUS JM CORP
29 W. 30TH STT, 4TH FLOOR
NEW YORK, NY 10001-4479

California State Board of Equalizat
P.O. Box 942879
Sacramento, CA 94279-0001

Cbeyond
320 Interstate North Parkway
Atlanta, GA 30339-2213

City of Tuscon

255 W, Alameda-Second Floor
P.O. Box 27210

Tucson, AZ 85726-7210

CyberSource
PO Box 8999
San Francisco, CA 94128-8999

DAISY
1100 SL. SAN PEDRO ST. #E-1
LOS ANGELES, CA 90015-5313

DEBUT
1015 S. CROCKER ST. Q14
LOS ANGELES, CA 90021-2064

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COTFAB
A-170-172, SUBHASH NAGAR SHOPPING (. JAIPUR - 302 016

CPS ENERGY
P.O. BOX 2678
SAN ANTONIO, TX 78289-0001

CULLIGAN OF SANTA ANA
502 S LYON ST
SANTA ANA. CA 92701-6362

California Franchise Tax Board
9646 Butterfield Way
Sacramento, CA 95827-1500

Carlo Dollero Figueroa
2827 S. Santa Fe Avenue
Vernon. CA 90058-1408

Central Parking Corp

315 E. Commerce Ste 200, San Antoni
P.O, Box 790402

St. Louis, MO 63179-0402

CyberCoders
File #54318
Los Angeles. CA 90074-4318

CyberSource Corporation
P.O. Box 742842
Los Angeles, CA 90074-2842

DAVIDA FASHION
1015 S. Crocker St #Q20
Los Angeles. CA 90021-2064

DIVA USA
1100 S. SAN PEDRO ST. 4#C-12
LOS ANGELES. CA 90015-2384
Case 2:15-bk-11688-VZ

DLA PIPER LLP
203 NORTH LASALLE ST., STE 1900
CHICAGO, IL 60601-1263

DONG FANG QIU YUN, INC DBA ANABEL C

1100 SAN PEDRO ST #H2
LOS ANGELES, CA 90015-2350

DTE TRADING,INC /HOT BECH / VIVA US
1142 8S. WALL STREET #102
LOS ANGELES, CA 90015-2325

Dallas County Tax Office
500 Elm Street
Dallas, TX 75202-6308

Darrell Kinsley
1633 Tyler Drive
Fullerton, CA 92835-2146

Demandware, Inc
5 Wall Street
Burlington, MA 01803-4770

ELITE CREATIONS Uk, LTD
UNIT 8, THE COURTYARD, 100 VILLIERS
LONDON, UNITED KINGDOM. NW? 5PL

ENLIN FASHION INC
735 E. 12TH STREET, UNIT 11]
LOS ANGELES, CA 90021-2197

EVENT DBA ESKA, INC
750-1 E. 12TH ST.
LOS ANGELES, CA 90021-2186

FANTAS EYES, INC
385 STH AVE
NEW YORK, NY 10016-3341

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DMX, INC.
PO BOX 660557
DALLAS, TX 75266-0557

DREAMER ENTERPRISE, INC
1585 RIO VISTA AVE.
LOS ANGELES. CA 90023-2619

DYNAMIC DESIGNS
Plot No.417, Pace City II Sector -3. Haryana, India

Daniel Kincaid Photography
1144 San Ralael Avenue, Unit C
Glendale. CA 91202-3436

DeLage Landen Financial Services
11411 Old Eagle School Road
Wayne, PA 19087-1453

EAST LION CORP
18525 RAILROAD ST.
CITY OF INDUSTRY, CA 91748-1316

ELMAH & ETHAN, LTD
PANTHAPATH LINK ROAD.KAWRANBAZAR
DHAKA Bangladesh

ENTERGY
PO BOX 8104
BATON ROUGE. LA 70891-8104

Ebay Enterprise

7 South Main Street

3rd Floor

Wilkes Barre. PA 18701-1732

FASITION AL
1175 CROCKER ST.
LOS ANGELES. CA 90021-2013

Desc
Case 2:15-bk-11688-VZ Doc 203 Filed 05/03/17 Entered 05/03/17 11:34:46

FASHION DISTRIBUTION CENTER. INC
1791 E. MARTIN LUTHER KING JR. BLVD
LOS ANGELES, CA 90058-1522

FB ACCESSORIES, INC
2828 LEONIS BLVD.
VERNON, CA 90058-2910

FINEMAN WEST & CO LLP
801 S Figueroa St, Suite 1000
LOS ANGELES, CA 90017-5508

FIRST LOOK
721 E. 12TH STREET #1
LOS ANGELES, CA 90021-2144

FOSTER QUAN LLP
600 TRAVIS STREET, SUITE#200
HOUSTON, TX 77002-2995

First Colony Mall

16525 Southwest Freeway, Suite 1
Attn: General Manager

Sugar Land, TX 77479

Fort Bend County Tax Assessor
1317 Eugene Heimann Circle
Richmond, TX 77469-3623

GALE TRIANGLE
11204 NORWALK BLVD
SANTA FE SPRINGS. CA 90670-3831

GAZE USA, INC
1665 MATEO STREET
LOS ANGELES, CA 90021-2854

GGP - Homart II LLC.
PO BOX 86
Minneapolis, MN 55486-1851

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FAWAZ. A. ALHOKAIR & CO
PO Box Riyadh 11411
Al Shimaisy. Kingdom of Saudi Arabia

FIESTA COLLECTION, INC
1261 BROADWAY. #810
NEW YORK, NY 10001-3530

FINESSE NOVELTY CORP
2 CHANNEL DRIVE SUITE 200 2ND FLOOR
PORT WASHINGTON. NY 11050-2214

FORD GLORY. INC
147 W 35TH ST. 41603
NEW YORK, NY 10001-2100

FedEx
P.O. BOX 7221
PASADENA, CA 91109-7321

First Colony Mall, LLC

c/o First Colony Mall LLC

110.N. Wacker Drive

Attn: Law/Lease Administration Dept
Chicago. IL 60606-1511]

G & H TEXTILES TRADING, INC
1988 CAMFIFLD AVE
LOS ANGELES. CA 90040-1566

GAROTA, INC
1188S. SAN PEDRO. UNITE S
LOS ANGELES. CA 90015-2653

GGC ACCESSORY, INC DBA PRINCESS ACC
3100 BANDINI BLVD.
VERNON, CA 90058-4112

GGP-Tucson Mall. LLC.

c/o Tucson Mall

110.N. Wacker Drive

Attn: Law/l.case Administration Dept
Chicago. IL 60606-1511

Desc
Case 2:15-bk-11688-VZ Doc 203 Filed 05/03/17 Entered 05/03/17 11:34:46

GLOBAL CLOTHING NETWORK, INC DBA OV
120 BRIGHTON ROAD, UNIT 3
Clifton, NJ 07012-1666

GOOD MORNING JEWELRY CORPORATION
39 W. 29TH STREE, FL 2 |
NEW YORK, NY 10001-4246

Glendale I Mall Associates, LLC
P.O. Box 860116
Minneapolis, MN 55486-0116

HAVE FASHION, INC
3360 E. PICO BLVD
LOS ANGELES, CA 90023-3729

HERMANOS KAYBEE(HK). LTD
UNITI0,1/F.SILVERCORD,30 CANTON RD
TSIMSHATSUI KOWLO, HONG KONG

HIDALGO COUNTY TAX ASSESSOR-COLLECT
2804 U.S 281
EDINBURG, TX 78539-6243

IMAGINE
1045 TOWNE AVE.
LOS ANGELES, CA 90021-2053

INTERI, INC
1169 CROCKER ST.
LOS ANGELES, CA 90021-2013

INTERNATIONAL SILVER
35 WEST 31ST STREET SUITE 1103
NEW YORK, NY 10001-4418

INTRACO INC dba SOMETHING SPECIAL
6333 CORSAIR STREET
COMMERCE, CA 90040-2503

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GOLDEN WEST FOOTWEAR, INC
16750 CHESTNUT ST.
CITY OF INDUSTRY, CA 91748-1006

Glendale Galleria

100 W. Broadway

Attn: General Manager
Glendale, CA 91210-1225

Glendale I Mall Associates. LLP

c/o Glendale Galleria

110.N. Wacker Drive

Attn: Law/Lease Administration Dept
Chicago. IL 60606-1511]

HD FASHION
942 TOWNE AVE #101
LOS ANGELES, CA 90021-2278

HG Galleria 1. 1, HI. LP

c/o M.S. Management Associates Ine.
225 West Washington Street
Indianapolis, IN 46204-3435

IFRANCHISE GROUP
905 W. 17TH STREET, 2ND FLOOR
HOMEWOOD, IL 60430

INFO-TECH RESEARCH GROUP
602 QUEENS AVENUE
TORONTO ONTARIO. CANADA

INTERNATIONAL INSPIRATIONS LTD
362 FIFTH AVENUE SIXTH FLOOR
NEW YORK. NY 10001-2210

INTOUCH FOOTWEAR, INC
1100S. HATCHER AVE STE C
CITY OF INDUSTRY. CA 91748-1014

IT CLOSET
3335 E. PICL. BLVD
LOS ANGELES, CA 90023-3714

Desc
Case 2:15-bk-11688-VZ

ITSME JEAN, INC DBA | & M JEANS USA
1100 S. SAN PEDRO ST. #L-1
LOS ANGELES, CA 90015-2353

Iron Mountain Inc.
PO Box 601002
Pasadena, CA 91189-1002

J P ORIGINAL CORP
19101 E. WALNUT DR. NORTH
CITY OF INDUSTRY, CA 91748-1429

JACOB SUPPLIES, INC DBA HEART AND H
2424 E. 26TH STREET
VERNON, CA 90058-1214

JANICE FASHION, INC
1015 S. CROCKER ST. #Q-13
LOS ANGELES, CA 90021-2063

JAYMY, INC DBA PINKLICIOUS
807 E. 12TH STREET. #132
LOS ANGELES, CA 90021-2177

JOIA TRADING, INC
1020 S. CROCKER ST.
LOS ANGELES, CA 90021-2012

KC EXCLUSIVE, INC DBA ZENANA
1100 S. SAN PEDRO ST, #M10
LOS ANGELES, CA 90015-2354

KIMERA INTERNATIONAL, INC
827 LAWSON ST.
CITY OF INDUSTRY, CA 91748-1104

Klein ISD/Tax Assessor
7200 Spring-Cypress Road
Spring, TX 77379-3215

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IVY DBA BLUE MINT
1105 TOWNE AVE SUITE #4
LOS ANGELES, CA 90021-2075

J Cat Beauty Enterprise LLC
10031 Pioneer Blvd.
Santa Fe Springs, CA 90670-3221

JACARANDA CLOTHING, INC
732 E. OTH ST #102
LOS ANGELES. CA 90021-2270

JAN-PRO CLEANING SYSTEMS
15810 PARK TEN PLACE SUITE#135
HOUSTON, TX 77084-5191

JASKA BUILDING SYSTEMS
9155 ARCHIBALD AVE... SUITE 902
RANCHO CUCAMONGO. CA 91730-5200

JESCO FOOTWEAR GROUP INC
37 WEST 37TH STREE SUITE 301
NEW YORK, NY 10018-5594

KATIA FASHION CORP DBA INA FASHION
738 E. 14TH ST. IST FL
LOS ANGELES, CA 90021-2114

KETER ENVIROMENTAL SERVICES, INC.
1177 HIGH RIDGE ROAD
STAMFORD, CT 06905-1221

KUEHWNE + NAGEL
PO BOX 894095
LOS ANGELES. CA 90189-4095

L.A. Carton
5100 South Santa Fe Avenue
Los Angeles. CA 90058-3532

Desc
Case 2:15-bk-11688-VZ Doc 203 Filed 05/03/17 Entered 05/03/17 11:34:46

L.A. PAYTON, TAX ASSESSOR-COLLECTOR
P.O. BOX 19037
HOUSTON, TX 77224-9037

LAURA A. LAUTERIO
1811 WHITLEY AVENUE #301
LOS ANGELES, CA 90028-4927

LINE UP
1039 E. TOWNE AVE.
LOS ANGELES, CA 90021-2053

LOVE REPUBLIC
732 E. 10TH ST. STE #106
LOS ANGELES, CA 90021-2270

LS RETAIL, ICELAND

LUVDEL KNIT TRIMMING
5633 S. MAIN ST
LOS ANGELES, CA 90037-4139

Lora Lee Bell Dba Paradise Balloon
11700 Buffington Street
Bakersfield, CA 93312-4684

M.B. Epstein Construction Californi
990 E. 17th Street, Suite 106
Tucson, AZ 85719-6648

MANAGEMENT RECRUITERS
11611 N MERIDIAN STREET, SUITE 650
CARMEL, IN 46032-7149

MB DESIGN, INC DBA MICHEL
727 E. PICO BLVD, STE 7
LOS ANGELES, CA 90021-2138

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LA DOUBLE 7 INC
13825 BENSON AVENUE
CHINO, CA 91710-7022

].EGEND FOOTWEAR. INC
19445 E, WALNUT DRIVE NORTH
CITY OF INDUSTRY. CA 91789-2813

LOVE & LOVE FASHION GROUP. INC
740 E. PICE BLVD, #115
LOS ANGELES, CA 90021

LOVELY DAY FASHION
1015 S. CROCKER ST. #803
LOS ANGELES. CA 90021-2069

LUCENT PRODUCT. INC DBA LUNETTE LYE
5515 DANIELS STREET
CHINO. CA 91710-9026

Listrak. Inc,
§29 I. Main Street
Lititz, PA 17543-2121

Los Angeles Tax Collector
225 N. Hill Street
Los Angeles, CA 90012-3253

MA'AM ARTS

GI-51. SITAPURA INDUSTRIAL AREA, JAIPUR-302022 INDIA

MAYLAND. INC
VERNON, CA 90058

MC CARGO GROUP INC
783 1. PICO BLVD.
LOS ANGELES. CA 90021-2105

Desc
Case 2:15-bk-11688-VZ

MCGINN USA, INC DBA PLASTIC ISLAND
807 MATEO ST
LOS ANGELES, CA 90021-1711

MEMORIAL CITY MALL
PO BOX 200256
DALLAS, TX 75320-0256

MI IN FASHION, INC
1001 TOWNE AVE #108
LOS ANGELES, CA 90021-2088

MIJU INTERNATIONAL
3131 BANDINI BVLD
VERNON, CA 90058-4111

MIKYE APPAREL, INC
750 E.14TH ST #109
LOS ANGELES, CA 90021-2260

MISOPE DBA | JOAH
1100 S. SAN PEDRO ST #A7
LOS ANGELES, CA 90015-2343

MOON COLLECTION, INC
1635 E. 23RD STREET
LOS ANGELES, CA 90011-1803

MachI Global Services, Inc
1530 E Broadway
Tempe, AZ 85282

Memorial City Mall

820 Gessner, Suite 1800
Attn: Legal Department
Houston, TX 77024-4468

Model Two Management, LLC
8899 Beverly Blvd., #507
Los Angeles, CA 90048-2412

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ME IN CORPORATION dba COLOR SWATCII
1015 S. CROCKER ST #Q26A
LOS ANGELES, CA 90021-2065

MEZZANINE USA
1015 S. CROCKER ST, R29
LOS ANGELES, CA 90021-2067

MICHELLE
1100 S. SAN PEDRO ST. A-2
LOS ANGELES. CA 90015-2396

MIKE SULLIVAN TAX ASSESSOR-COLLECTO

P.O BOX 3547
HOUSTON, TX 77253-3547

MINETTE APPAREL
561 MATEO ST.
LOS ANGELES. CA 96013-2241

MON AMI
734 E. 12 TH STREET UNIT #A
LOS ANGELES, CA 90021-2102

MUST HAVE, INC DBA DANBEF
1016 TOWNE AVE #122
LOS ANGELES. CA 90021-2098

MEMORIAL CITY MALL
ATTN: MALL MANAGER

303 MEMORIAL CITY STE 303
HOUSTON, TX 77024-2679

Minty
721 East 12th St, Unit 46
Los Angeles, CA 90021-2144

Motive Enterprises, Inc,
1834 E. 22nd Street
Los Angeles, CA 90058-1034

Desc
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Mystery Researchers, LLC
1718 Peachtree Street NW, Suite 550
Atlanta, GA 30309-2527

NATIONWIDE
5202 SHADOWBEND DRIVE. STE#101
THE WOODLANDS, TX 77381-4369

NORTHSTAR MALL LLC
PO Box 86
Mnneapolis, MN 55486-2770

New Rivercenter Mall IT L.P.
849 Commerce Street ,
San Antonio, TX 78205-3910

ODES/ODIN COMMISSION
1239 BROADWAY, ROOM 603
NEW YORK, NY 10001-4311

OH MY JULIAN, INC
1100S. SAN PEDRO STREET, #D8
LOS ANGELES, CA 90015-2346

OPPO ORIGINAL CORP
108-118 BREA CANYON RD
CITY OF INDUSTRY, CA 91789-3086

PINK USA JEWLERY, INC
1458 S. SAN PEDRO ST #310
LOS ANGELES, CA 90015-3150

POL CLOTHING INC
735 EAST 12TH ST
LOS ANGELES, CA 90021-2197

PPF Industrial 2825 S. Santa Fe Ave
P.O. Box 101317
Pasadena, CA 91189-1317

Main Document

’ Page 21 of 27

NABI TRADING INC
3121 BANDINI BLVD
VERNON, CA 90058-4111

NOBLE U
1015 S. CROCKER ST. #R-21
LOS ANGELES, CA 90021-2066

NURI IMPORT, INC
1219S. LOS ANGELES ST
LOS ANGELES. CA 90015-2538

Nova, Inc.
362 5th Ave. #101
New York, NY 10001-2251

OFFICE DEPOT
6446 TELEGRAPH ROAD
COMMERCE, CA 90040-2516

OHL - INTERNATIONAL
62216 COLLECTIONS CENTER DRIVE
CHICAGO. IL 60693-6221

PARKS AT ARLINGTON LLC
SDS 12-2881 PO BOX 86
Minneapolis, MN 55486-288 |

PLANET B
860 S. LOS ANGELES STREET
LOS ANGELES, CA 90014-3311

PPF Ind 2825 S. Santa Fe Avenue LP
c/o Morgan Stanley

555 California Street. Floor 21

Attn: Joseph Finnigan

San Francisco. CA 94104-1546

PURE BLUE CORPORATE
747 LAST LOST UNIT 115 A
LOS ANGELES, CA 90021-2207

Desc
Case 2:15-bk-11688-VZ Doc 203 Filed 05/03/17 Entered 05/03/17 11:34:46

Pablo Villareal Hidalgo County Tax
2804 S US Hwy 281
Edinburg, TX 78539-6243

Park Place

5870 East Broadway Blvd,
Attn: General Manager
Alcalde, NM 87511

Partnership, LLC
500 East Lorain Street
Oberlin, OH 44074-1238

RACHEL KATE DBA RNK PRODUCTION. INC
807 E. 12TH ST. #105
LOS ANGELES, CA 90021-2174

RED CIRCLE FOOTWEAR, INC
17910 E. AJAX CIRCLE
CITY OF INDUSTRY, CA 91748-1133

RJ IMPORTS
1350 S. BROADWAY
LOS ANGELES, CA 90015-3036

RON WRIGHT TARRANT COUNTY TAX ASSES
100 E. WEATHERFORD
FORTH WORTH, TX 76196-0206

Reyenne Parish
2208 Dean Avenue
Bakersfield, CA 93312-2725

S & P TRADING, INC
906 E. PICO BLVD.
LOS ANGELES, CA 90021-2220

SASSY APPAREL, INC DBA AVAILABLE
800 E. 12TH STREET. # 102
LOS ANGELES, CA 90021-2199

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Park Mall. L..L.C.

c/o Park Place

110 N. Wacker Drive

Attn: Law/Lease Administration Dept
Chicago, IL 60606-1511

Parks At Arlington, LLC

110 N. Wacker Dr.

Attn: Law/Lease Admintration Dept
Chicago, IL 60606-1511

PIMA COUNTY ARIZONA

Desc

CO PIMA COUNTY ATTORNEY - CIVIL DIVISION

32 N STONE AVE SUITT: 2100
TUCSON, AZ 85701-1458

REALPLAY CORP DBA RIPLAY
18856 SAN JOSE AVE.
CITY OF INDUSTRY. CA 91748-1325

REGGIANI LIGHTING USA INC
372 STARKE ROAD
Carlstadt, NJ 07072-2108

ROBYN G ACCESSORIES
389 FIFTH AVE SUITE 1012
NEW YORK, NY 10016-3351

RUTAN & TUCKER, LLP
611 ANTON BLVD. SUITIE# 1400
COSTA MESA, CA 92626-1931

S$ & J FIRST TRADING, INC
1300 S. SAN PEDRO ST. #102
LOS ANGELES. CA 90015-3135

SAN JULIAN FASHION
794 E, 12th Street
LOS ANGELES, CA 90021-2192

SEGURU FASHION JEWLRY CORP
34 W. 32ND STRERT TITH FL
NEW YORK. NY 10001-3838
Case 2:15-bk-11688-VZ Doc 203 Filed 05/03/17 Entered 05/03/17 11:34:46 Desc
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SHALOM INTERNATIONAL
1050 A.BOY AVE SUITE 1
PERTH AMBOY, NJ 08861-1939

SHOE DYNASTY, INC
18058 ROWLAND ST

CITY OF INDUSTRY, CA 91748-1205

SIMONGLOVER, INC.
3293 PACIFIC AVE.
LONG BEACH. CA 90807-5067

SMAC FOOTWEAR DIVISION
17559 ROWLAND STREET

CITY OF INDUSTRY, CA 91748-1137

SO BEAUTIFUL, INC
783 E. PICO BLVD
LOS ANGELES, CA 90021-2105

SOLO LA FE
1194 CROCKER ST.
LOS ANGELES, CA 90021-2014

SOUTH WESTSIGNS
7208 SWW WHITE ROAD
SAN ANTONIO, TX 78222-5204

STAPLES
PO BOX 83689
CHICAGO, IL 60696-3689

SUN'S TRADING COF
2345 S. SANTA FE AVE.
LOS ANGELES, CA 90058-1111

Servicios Shasa, S. De R.L. De C.V.
Boulevard Aeropuerto Miguel Aleman
11 Rancho El Rosario

Lerman De Villada Mexico

Estado De Mexico C.P., IA 52000

SHINHWA CORP DBA QINGDAO SHINIWA HO
2100S. HILL STREET
LOS ANGELES, CA 90007-1416

SHOE MAGNATE, INC
18560 E. SAN JOSE AVE.
CITY OF INDUSTRY, CA 91748-1365

SKD PACIFIC, LTD

3C FREDER CENTRE

3 MOK CHEONG STREET
TOK WAWAN. HONG KONG

SML STYLE USA
110 East 9th Street. Suite A1263
Los Angeles, CA 90079-2263

SOCIETY FOR HUMAN RESOURCE MANAGEME
P.O, BOX 791139
BALTIMORE, MD 21279-1139

SOUL FLOWER SA DE CV
HIDALGO 811-A COL. ARTESANOS
GUADALAJARA, JALISCO MEXICO

SSONAGI
807 E. 12TH ST.STE #103
LOS ANGELES, CA 90021-2174

STYLE MELODY, INC
1053 S. TOWNE AVE.
LOS ANGELES. CA 90021-2053

SWOON-GLOBALONE LA TRADING, LTD
1100S. SAN PEDRO ST #K1
LOS ANGELES, CA 90015-2352

Simon Property Group (Texas). L.P.
Braun. Browne & Associates, P.C.
300 Saunders Road. Suite 100

Attn. Sheldon Braun, Esq
Deerfield. IL. 60015-5708
Case 2:15-bk-11688-VZ Doc 203 Filed 05/03/17 Entered 05/03/17 11:34:46

Simon Property Group (Texas), L.P.

c/o M.S. Management Associates Inc.

225 West Washington Street
Indianapolis, IN 46204-3438

Southwest Signs & Graphics
8992 Preston Road, Suite 110
TACL 18511

Frisco, TX 75034-3964

Stanley Converge Security Solutions
Dept CH 10651
Palatine, IL 60055-0001

Statement Accessories LLC
10 West 33rd Street

Suite 715

New York, NY 10001-3317

TEENBELL
1100 S. SAN PEDRO ST. #N-2
LOS ANGELES, CA 90015-2355

THE PAGE INC
1015 CROCKER ST, R37
LOS ANGELES, CA 90021-2068

TIMING, INC
2809 S. SANTA FE AVE.
VERNON, CA 90058-1408

TOVIA, INC
1228 1/2 S. SAN PEDRO
LOS ANGELES, CA 90015-2612

TRAVIS COUNTY TAX OFFICE
5501 AIRPORT BLVD.
AUSTIN, TX 78751-1410

TUCKER ELLIS, LLP
950 MAIN AVENUE
CLEVELAND, OH 44113-7213

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Smart Retail LLC
2827 S Santa Fe Avenue
Vernon, CA 90058-1408

Spring Branch ISD/Tax Assessor
16717 Ella Blvd.
Houston, TX 77090-4213

State Tax Advisors. LP
1308 Kingwood Drive. Suite 102
Kingwood. TX 77339-2972

TECH EXCEL
3675 MT. DIABLO BLVD. SUITE#200
LAFAYETTE. CA 94549-3793

THE CLASSIC DBA HAN CLOTHING
1202 S. MATEO ST
LOS ANGELES, CA 90021-1738

THE VINTAGE SHOP
1015 S. CROCKER ST #RI7
LOS ANGELES, CA 90021-2066

TOPSON DOWNS OF CALIFORNIA. INC
3840 WATSEKA AVE.
CULVER CITY, CA 90232-2633

TRAC
1100S. SAN PEDRO ST. UNIT N-09
LOS ANGELES, CA 90015-2355

TRIUMPH! JL CLOTHING INC
743 E L2TH ST
LOS ANGELES, CA 90021-2101 °

TUCSON ELECTRIC POWER
P.O, BOX 80077
PRESCOTT, AZ 86304-8077

Desc
Case 2:15-bk-11688-VZ Doc 203 Filed 05/03/17 Entered 05/03/17 11:34:46 Desc

TYCO INTEGRATED SECURITY SENSORMATI
P.O. BOX 371967
PITTSBURGH, PA 15250-7967

Tammy Mcrae Tax Assessor
400 N. San Jacinto St.
Conroe, TX 77301-2823

The Creme Shop
819 S. Gladys Avenue
Los Angeles, CA 90021-1809

The Woodlands Mall

1201 Lake Woodlands Dr, Suite 700
Attn: General Manager

Spring, TX 77380-5012

Thompson Coburn LLP
2029 Century Park East, 19th Floor
Los Angeles, CA 90067-2934

Tucson Mall

4500 N. Oracle Road
Attn: General Manager
Tucson, AZ 85705-1662

U & I IMPORT, INC
7 WEST 30TH ST.
NEW YORK, NY 10001-4406

URBAN MIX, [INC
807 E. 12TH ST. #149
LOS ANGELES, CA 90021-2176

VIA VAI
762 E. 12TH ST. UNIT #2
LOS ANGELES, CA 90021-2102

VISION
721 E lOTH ST
LOS ANGELES, CA 90021-2005

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TYCOONS ENTERPRISE GROUP. LLC DBA M
7936 1. AJAX CIRCLE
CITY OF INDUSTRY. CA 91748

Texas Comptroller
111 East 17th Street
Austin, TX 78711-5001

The Parks at Arlington
3811 South Cooper Street
Atin.: General Manager
Arlington, TX 76015-4154

The Woodlands Mall

c/o The Woodlands Mall Assoc, LLC
110. N. Wacker Drive

Attn: Law/Lease Administration Dept
Chicago, IL 60606-1511

Titan Executive Search Partners, LL.
212 Yacht Club Way, Suite Al
Redondo Beach. CA 90277-6907

Tyco Integrated Security
P.O. Box 371967
Pittsburg. PA 15230-7967

UP FASHION
1239 BROADWAY, SUITE #401
NEW YORK, NY 10001-4369

VANILLA BAY DBA CHOU CHOU
800 E. 12TH ST. 4106
LOS ANGELES. CA 90021-2199

VIDA CLOTHING /
726 E. 12TH ST STE 4310
LOS ANGELES, CA 90021-2142

VIVACE DESIGN
726 E. 12TH ST. #116
LOS ANGELES. CA 90021-2139
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Valley Plaza Mall

2701 Ming Avenue

Attn: General Manager
Bakersfield, CA 93304-4416

Versatile Rack Co.
5232 Alcoa Avenue
Vernon, CA 90058-3710

WILHELMINA WEST, INC
9378 WILSHIRE BLVD, STE 310
BEVERLY HILLS, CA 90212-3168

WOODLANDS METRO CENTER MUD
P.O, BOX 7829 .
THE WOODLANDS, TX 77387-7829

WiLine

8915 S. La Cienega Blvd.
Suite D

Inglewood, CA 90301-7422

YOKI FASHION INTERNATIONAL, LLC
1410 BROADWAY SUITE 1005

1022 Lawson Street

NEW YORK, NY 10018

ZHEJIANG SHINDAI SANSHUN TRADING CO

1888 JIANGHUI RD, HANGZHOU CHINA

teen bell
110 East 9th Street, Suite A1263
Los Angeles, CA 90079-2263

Pima County Treasurer
PO BOX 29011
Phoenix, AZ 85038-9011

John T. Banks
3301 Northland Dr
Suite 505

Austin, TX 78731

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Valley Plaza Mall. LP

c/o Valley Plaza Mall

LION. Wacker Drive

Attn: Law/Lease Administration Dept
Chicago. IL 60606-1511

WESTWOOD FOOTWEAR CORP
18955 E. RAILROAD ST.
CITY OF INDUSTRY. CA 91748-1322

WINDSTREAM
PO BOX 9001908
LOUISVILLE, KY 40290-1908

WOW KNIT, INC DBA WOW COUTURE
1012 CROCKER STREET
LOS ANGELES, CA 90021-2012

XENOS FASHION. INC DBA SCOBE
2462 E. 28TH STREET
VERNON, CA 90058-1402

ZERMAT INTERNACIONAL. 8.A. DE CV,
3540 W. TC. JESTER
HOUSTON. TX 77018-5047

ZINGA, INC
1100 S. SAN PEDRO STREET, STE 1-02
LOS ANGELES, CA 90015-2387

Rowena Santos

Thompson Coburn

2029 Century Park E L9FI
Los Angeles. CA 90067-2901

Trapeo, S.A. De CLV.

Boulevard Aucropuerto Miguel Aleman
11 Rancho E] Resario

Lerma De Villada

Estado De Mexico C.P., IA 52000

IItra Deiches

Deiches & Ferschmann
25 Wilkins Ave
Haddonfield. NJ 08033

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